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                            EXHIBIT A
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 Continental’s Requests         Allianz’s Objections/Response             Continental’s Position          The Court’s Ruling

Request No. 2: All          Objections: Defendants object to         First, Allianz’s objections as to
documents referenced in     this request, as it is overly broad,     breadth, burden, and relevance
Exhibit B to Defendants’    unduly burdensome, and seeks             lack the specificity required
initial disclosures,        confidential and/or proprietary          under the federal and local rules,
including any amendment     business information. The request        and it should not be entitled to
or supplement thereto, in   is overbroad and burdensome in           withhold documents responsive
this action.                that it asks Defendants to produce       to this Request on the basis of
                            documents that are already in            these objections.
                            Continental’s possession or are
                            freely available in the public           “[M]erely stating that a discovery
                            records. The request also seeks          request is “overbroad” or
                            documents that contain                   “unduly burdensome” will not
                            confidential and/or proprietary          suffice to state a proper
                            business information that can only       objection.” Deutsche Bank Nat'l
                            be disclosed pursuant to a               Tr. Co. v. Fegely, No.
                            mutually agreeable protective            3:16CV147, 2020 WL 201048, at
                            order from this Court, permission        *6 (E.D. Va. Jan. 13, 2020).
                            from the appropriate underlying          Rather, “[i]n order to overcome
                            court/parties, and with appropriate      the liberal construction afforded
                            redactions to protect commercially       by the federal discovery rules, a
                            sensitive information that is            party objecting on the grounds
                            irrelevant to the issues in this case.   that a request is overly
                            Defendants further object to the         burdensome must submit
                            extent that certain documents            affidavits or other evidence
                            contain information protected by         indicating with specificity the
                            the attorney-client privilege, work      nature and extent of the burden.”
                            product doctrine, and joint defense      Id. Further, the mere fact that a
                            privilege.2                              discovery request would require
                                                                     significant time and expense to
                            2
                             Numerous requests propounded            search for and produce
                            by Continental overlap with the          responsive documents is an
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           categories of documents listed in      insufficient basis to object to
           Exhibit B of Defendants’ initial       such discovery. See id. (“The
           disclosures. These include, but are    mere fact that responding to a
           not limited to, Request Nos. 4, 5,     discovery request will require the
           6, 7, 8, 17, and 18. While             objecting party to expend
           Defendants state specific              considerable time, effort and
           objections to these requests herein,   expense consulting, reviewing
           they hereby incorporate the            and analyzing huge volumes of
           objections to Request No. 2 by         documents and information is an
           reference.                             insufficient basis to object to a
                                                  relevant discovery request.”)
           Answer: Exhibit “B” to                 (internal citation marks and
           Defendants’ Initial Disclosures        quotation omitted). Yet Allianz’s
           lists 21 categories of documents,      objections wholly fail to explain
           of which Continental is fully in       why each specific request to
           possession of the documents in         which they object is too broad or
           categories 1 through 13, 20, and       why searching for and producing
           21. Defendants maintain that           or logging the responsive
           Continental’s request for these        discovery would subject it to an
           documents is overbroad and             undue burden.
           burdensome because these
           materials are already in               For purposes of the permissible
           Continental’s possession or freely     scope of discovery, “[r]elevance
           available in the public records, and   is construed broadly to include
           Defendants accordingly will not        ‘[a]ny matter that bears on, or
           re-produce these materials. As to      that reasonably could lead to
           the remaining categories of            another matter that could bear on,
           documents, Defendants answer as        any issue that is or may be in the
           follows:                               case.’” Deutsche Bank Nat'l Tr.
           • Category 14 – “All invoices for      Co., 2020 WL 201048, at *6
                legal fees and costs provided     (quoting Cappetta v. GC Servs.
                by each of the airlines to AWP    Ltd. P'ship, 2008 WL 5377934,
                for reimbursement under their     *7 (E.D. Va. 2008) (citation
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             respective marketing               omitted)). “A request for
             agreements with AWP.”              discovery should be considered
           o Answer: Defendants will            relevant if there is any possibility
             produce all such invoices for      that the information sought may
             all partners at issue in this      be relevant to the subject matter
             action (not just the airlines)     of the action.” Id. (internal
             subject to (1) the partners’       quotation marks and citation
             permission to produce those        omitted). Moreover, as the party
             invoices, and (2) the necessary    resisting discovery, the burden is
             redactions to protect privileged   on Allianz “to show specifically
             information. Defendants are        how, despite the broad and
             only in possession of these        liberal construction afforded the
             invoices pursuant to the joint     federal discovery rules, each
             defense privilege. Because         interrogatory [or request for
             Defendants cannot share these      production] is not relevant.”
             invoices without partner           Cappetta v. GC Servs. Ltd.
             consent and are unable to          P'ship, No. CIV. A. 3:08CV288,
             waive the attorney-client          2008 WL 5377934, at *2 (E.D.
             privilege or work-product          Va. Dec. 24, 2008) (internal
             protection attached to these       quotation marks and citations
             documents, Defendants can          omitted); see also Spendlove v.
             only produce them with the         RapidCourt, LLC, No. 3:18-CV-
             redactions necessary to protect    856, 2019 WL 7143664, at *5
             against disclosure of attorney-    (E.D. Va. Dec. 23, 2019) (“When
             client and work product            discovery sought appears
             information. Defendants intend     relevant on its face, the party
             to contact their partners to       resisting the discovery has the
             attempt to secure permission to    burden to establish that the
             produce the documents in           requested discovery does not
             question with appropriate          come within the scope of
             redactions.                        relevance, ... or is of such
           • Category 15 – “All invoices for    marginal relevant that the
             legal fees and costs incurred by   potential harm occasioned by
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             AWP in connection with the         discovery would outweigh the
             putative class action lawsuits.”   ordinary presumption in favor of
           o Answer: Defendants will            broad disclosure.”) (internal
             produce all such invoices in       quotation marks and citation
             connection with all Underlying     omitted). Allianz does not
             Actions subject to (1) the         provide any explanation as to
             partners’ permission to            why the information sought is
             produce those invoices, and (2)    not relevant.
             the necessary redactions to
             protect privileged information.    Nearly three months after Allianz
             Certain invoices within this       served its objections, and after
             category are protected by the      significant meet and confer
             joint defense privilege.           correspondence, Allianz only
             Because Defendants cannot          now attempts to provide
             share these invoices without       supporting evidence for these
             partner consent and are unable     general objections in connection
             to waive the attorney-client       with filing this joint statement.
             privilege or work-product          This underscores the fact that
             protection attached to these       Allianz indiscriminately objected
             documents, Defendants can          to virtually all of Continental’s
             only produce them with the         discovery requests based on
             redactions necessary to protect    improper, general objections
             against disclosure of attorney-    before it had even undertaken to
             client and work product            adequately evaluate and review
             information. Defendants intend     the universe of potentially
             to contact their partners to       responsive documents. In any
             attempt to secure permission to    event, their breadth, burden, and
             produce the documents in           relevance objections still do not
             question with appropriate          withstand scrutiny.
             redactions. Defendants will
             also produce the settlement        To the extent Allianz now states
             agreements referenced in their     that it does not intend to
             answer to Request No. 16           withhold documents on the basis
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             subject to their objections and      of these improperly asserted
             answer to that request.              objections, they should be
           • Category 16 – “All demands           withdrawn (and should not have
             for indemnity from each of the       been asserted in the first
             airlines under their respective      instance). Because Allianz has
             marketing agreements with            only just begun producing
             AWP.”                                documents and has not logged all
           o Answer: Defendants will              of the documents that it intends
             conduct a reasonable search for      to withhold, Continental cannot
             and produce all such                 simply take Allianz’s word that
             documents for all partners at        does not intend to withhold
             issue in this action (not just the   documents on the basis of these
             airlines).                           objections. However, to the
           • Category 17 –                        extent Allianz has agreed to
             “Correspondence between              withdraw its breadth, burden, and
             AWP and the airlines regarding       relevance objections with respect
             the airlines’ indemnity              to specific Requests, the parties
             demands under their respective       appear to have resolved the part
             marketing agreements with            of their dispute pertaining to
             AWP.”                                those specific objections as noted
           o Answer: Defendants will              below.
             conduct a reasonable search for
             and produce all such                 Second, with respect to Allianz’s
             documents for all partners at        objection that certain documents
             issue in this action (not just the   are publicly available,
             airlines) with the exception of      Continental does not request
             any correspondence protected         production of publicly available
             by the attorney-client privilege     documents but does request
             and/or work product doctrine.        unredacted copies of certain
           • Category 18 –                        documents that are publicly
             “Correspondence between              available only with redactions.
             AWP and brokers or other             Continental does not have access
             third-parties regarding the          to the unredacted documents, and
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             marketing agreements and/or          therefore Allianz’s equal access
             the airline indemnity                objection is improper, and it
             demands.”                            should not be entitled to withhold
           o Answer: Defendants will              any documents on the basis of
             conduct a reasonable search for      this objection. See, e.g.,
             and produce all such                 Oppenheimer v. Episcopal
             documents for all partners at        Communicators, Inc., No. 1:19-
             issue in this action (not just the   CV-00282-MR, 2020 WL
             airlines) with the exception of      4732238, at *4 (W.D.N.C. Aug.
             any correspondence protected         14, 2020) (finding objection that
             by the attorney-client privilege     defendants have equal access to
             and/or work product doctrine.        the requested information to be
           • Category 19 –                        without merit where requesting
             “Correspondence between              party had limited or no access to
             AWP and brokers or other             the requested information).
             third-parties regarding AWP’s
             claims for insurance coverage.”      Third, Allianz’s objections to
           o Answer: Defendants will              production on the basis that the
             conduct a reasonable search for      Request seeks confidential
             and produce all such                 documents or information or
             documents with the exception         confidential and/or proprietary
             of any correspondence                business information are
             protected by the attorney client     improper because the Court has
             privilege and/or work product        entered a mutually agreed
             doctrine.                            protective order to enable to the
                                                  protection of just such material.
           Additional Response to                 See, e.g., Virmani v. Novant
           Continental’s Position:                Health Inc., 259 F.3d 284, 288
           First, except where specifically       n.4 (4th Cir. 2001) (“There is an
           addressed herein, Defendants are       important distinction between
           not withholding any documents on       privilege and protection of
           the basis of breadth, burden, or       documents, the former operating
           relevance. Defendants have made        to shield the documents from
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           this clear to Continental through     production in the first instance,
           the meet and confer process.          with the latter operating to
           Continental’s suggestion that these   preserve confidentiality when
           objections were improperly            produced. An appropriate
           asserted is specious. When            protective order can alleviate
           asserted, Defendants were still       problems and concerns regarding
           collecting and reviewing              both confidentiality and scope of
           documents. At that time,              the discovery material produced
           Defendants reasonably believed        in a particular case.”);
           that the requests, as stated, were    Oppenheimer v. Episcopal
           overly broad, sought documents        Communicators, Inc., No. 1:19-
           not relevant to any claim or          CV-00282-MR, 2020 WL
           defense and, thus, the requests       4732238, at *5-6 (W.D.N.C.
           were unduly burdensome. Having        Aug. 14, 2020) (finding
           now completed their collection        objections on the basis that the
           and review, Defendants have           information requested is
           informed Continental that they do     confidential and/or contains
           not intend to withhold any            confidential and proprietary
           documents based on these              business information without
           objections. Nevertheless,             merit where protective order had
           withdrawal of properly asserted       been entered).
           objections is not required, nor
           would it have any material change  To the extent that Allianz
           on Continental’s apparent          contends there are joint defense
           reluctance to accept Defendants’   agreements, confidentiality
           good faith representation. In any  agreements, and/or protective
           case, Defendants’ privilege log    orders that prevent the
           will resolve any issue Continental production of otherwise
           may still have.                    responsive documents
                                              notwithstanding the protective
           Furthermore, Continental’s         order, Allianz must produce
           complaint that Defendants are only copies of those
           now presenting an affidavit in     agreements/orders so that
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           support of their timely objections    Continental can determine
           is disingenuous, where it was not     whether they in fact prohibit
           until Continental presented its       production. They may permit
           notice of objection that it ever      disclosure by consent or the
           requested such evidence.              designating party, or pursuant to
           Importantly, no such evidence is      a subpoena or other discovery
           required under the Federal Rules.     request, or disclosure pursuant to
                                                 an order from this court
           Second, where Defendants have         compelling disclosure. For
           withheld clean copies of redacted     example, the protective order in
           documents filed by third parties in   the Donoff Action explicitly
           the Underlying Actions, it has        permits the disclosure of
           done so based on legal authority.     confidential material with
           These documents are subject to        consent of the designating party,
           protective orders issued in the       as well as information
           Underlying Actions. Those orders      subpoenaed or ordered produced
           survive the underlying litigation     in other litigation upon
           and continue to have the full force   notification to the party
           and effect on the parties.            designating the material as
           See Public Citizen v. Liggett         confidential. To the extent
           Grp., 858 F.2d 775, 780–82 (1st       disclosure of confidential
           Cir. 1988). Defendants, therefore,    material is merely conditioned on
           cannot produce the requested          consent of the designating party,
           documents without violating the       Allianz should be compelled to
           orders issued in the Underlying       immediately seek consent to
           Actions. Courts in this Circuit       produce the responsive
           recognize this as a valid basis to    documents if it did not do so
           withhold documents in discovery.      months ago when Continental
           See, e.g., Dickerson v. TLC The       served its document requests.
           Laser Eye Ctr. (Inst.), Inc., No.
           CV 6:10-00685-JMC, 2010 WL            At an absolute minimum, Allianz
           11640184, at *2 (D.S.C. Sept. 1,      must log any documents or
           2010) (“Courts which have been        information withheld or redacted
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            called upon to decide discovery        on the basis of these objections
            motions that involve requests to       to enable Continental to evaluate
            modify or terminate a                  the propriety of these objections.
            protective order previously issued     At this stage, Continental has no
            by another court, whether state or     information about what has been
            federal, have frequently felt          and apparently will in the future
            constrained by principles of           be redacted on this basis other
            comity, courtesy, and, where a         than Allianz’s broad assertion
            federal court is asked to take such    that whatever it is is supposedly
            action with regard to a previously     confidential.
            issued state court protective order,
            federalism.”).                         Fourth, to the extent Allianz
                                                   withholds or redacts documents
            Third, the fact that the Court has     or information on the basis of
            entered a confidentiality order in     any privilege or protection, it
            this case does not allow               must produce a document-by-
            Defendants to violate prior orders     document privilege log.
            by producing protected documents       Continental and Allianz have
            filed by non-parties. Nor may          agreed that the parties need not
            Continental “evaluate” the joint       produce a document-by-
            defense agreements,                    document privilege log with
            confidentiality agreements, and/or     respect to communications
            protective orders that prohibit        between Allianz’s counsel in this
            disclosure, as Continental asserts,    litigation and Allianz after the
            where the joint defense                date this litigation was filed.
            agreements themselves contain          This position is applicable with
            confidentiality provisions that        respect to each of the Requests in
            prevent their disclosure. The          dispute, and Continental will not
            protective orders, entered by the      repeat it each time for the sake of
            courts in the Underlying Actions,      brevity.
            are publicly available and equally
            accessible to Continental. To
            avoid doubt, copies of those orders
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            are also attached to the affidavit of
            Jack Zemp, submitted with this
            chart.

            Continental’s suggestion that
            Defendants should be compelled
            to seek permission from the parties
            in the Underlying Actions to
            produce their confidential
            documents attempts to improperly
            shift the burden of discovery. The
            Federal Rules instruct courts to
            consider not only how much of a
            burden collecting the requested
            information would impose on the
            producing party but also which
            party could more easily obtain the
            information. See Fed. R. Civ. P.
            26(b)(1); see also Fed. R. Civ. P.
            26(b)(2)(C) (“On motion or on its
            own, the court must limit the
            frequency or extent of discovery
            otherwise allowed by these rules
            or by local rule if it determines
            that: (i) the discovery sought is
            unreasonably cumulative or
            duplicative, or can be obtained
            from some other source that is
            more convenient, less burdensome,
            or less expensive”) (emphasis
            added). While Defendants would
            have to pursue the right to disclose
            these materials from third parties
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            (without any authority to compel
            compliance), Continental could
            accomplish this through an
            informal request or subpoena.
            Continental effectively wants
            Defendants to chase down consent
            from non-parties when there is a
            “more convenient, less
            burdensome, [and] less expensive”
            alternative: service of a subpoena
            directly to the parties who
            designated the documents
            confidential. See Fed. R. Civ. P.
            26(b)(2)(C).

            Fourth, Defendants have provided
            an appropriate privilege log for all
            of the documents they have
            produced, and intend to do so for
            all remaining productions. In
            instances herein where the Court
            determines that an entire category
            of documents is protected from
            discovery, Defendants request that
            the Court relieve them from the
            burden associated with creating a
            privilege log for each and every
            document (akin to what the parties
            have agreed regarding attorney-
            client communications after this
            litigation was filed).
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                             Ultimately, Defendants intend to
                             produce all of the documents
                             described in their Answer above.

Request No. 3: All           Objections: Defendants object to      Because Allianz incorporates its
documents that you           this request as overly broad and      objections and response to
contend support your         unduly burdensome to the extent it    Request No. 2, Continental
request for relief and for   asks Defendants to produce            similarly incorporates its position
damages in this action.      documents that are already in         with respect to Request No. 2
                             Continental’s possession or are       with respect to Request No. 3.
                             freely available in the public
                             records.

                             Answer: This request substantively
                             seeks the same documents
                             encompassed by Request No. 2.
                             Defendants accordingly
                             incorporate their answer to
                             Request No. 2 and will be
                             producing documents on the same
                             terms and subject to the same
                             objections. Defendants also
                             incorporate their answer to
                             Request No. 16 and will be
                             producing documents on the same
                             terms and subject to the same
                             objections.

                             Additional Response to
                             Continental’s Position: Defendants
                             incorporate herein their additional
                             response from Request No. 2.
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Request No. 5: All           Objections: Defendants object to         For the reasons explained in
agreements that any entity   this request, as it seeks                detail in connection with Request
or person contends           confidential and/or proprietary          No. 2, Allianz’s objections to
obligates any of the         business information between             production on the basis that the
Defendants to indemnify      Defendants and their partners that       Request seeks confidential and/or
any other entity or person   can only be disclosed pursuant to a      proprietary business information
with respect to any of the   mutually agreeable protective            are improper because the Court
Underlying Actions.          order from this Court, permission        has entered a mutually agreed
                             from the appropriate underlying          protective order to enable to the
                             court/parties, and with appropriate      protection of just such material.
                             redactions to protect commercially
                             sensitive information that is            Continental moves to compel all
                             irrelevant to the issues in this case.   marketing agreements not
                                                                      previously provided to
                             Answer: The only responsive              Continental. To the extent
                             documents are the operative              Allianz contends redactions are
                             marketing agreements (and the            necessary, it must provide a
                             relevant amendments) between             privilege log explaining the basis
                             Defendants and the partners at           for such redactions.
                             issue in this action. Defendants
                             will produce these agreements
                             subject to (1) the partners’
                             permission to produce those
                             agreements, and (2) with
                             redactions necessary to protect
                             commercially sensitive
                             information that is irrelevant to the
                             issues in this case. Defendants
                             intend to contact their partners to
                             attempt to secure permission to
                             produce the documents in
                             question. With respect to the
                             redacted portions of the
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            agreements, Defendants
            incorporate and stand on their
            objections above, and will not
            produce these portions absent a
            Court order.

            Additional Response to
            Continental’s Position: The
            marketing agreements that
            Defendants have agreed to
            produce contain confidentiality
            provisions and cannot be disclosed
            without the consent of Defendants’
            partners. Those partners have
            agreed to the production of those
            documents with redactions to
            protect certain commercially
            sensitive, proprietary information.
            The partners refuse to the
            production of the marketing
            agreements in unredacted form.
            Defendants intend to appropriately
            account for all redactions in a
            privilege log when the agreements
            are produced.

            Further, Continental’s own
            conduct has hindered Defendants’
            ability to fully produce these
            agreements. After the parties
            agreed to a protective order, one of
            Defendants’ partners indicated that
            it would consent to production of
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                             its redacted marketing agreement
                             only if it was governed by an
                             “attorneys’ eyes only” (“AEO”)
                             provision (which the current
                             protective order does not have).
                             Defendants asked Continental for
                             its agreement to jointly seek
                             modification of the protective
                             order approximately one month
                             ago, and Continental never
                             responded. The request for an
                             AEO provision is also reasonable
                             in this case, where Continental’s
                             related companies are direct
                             competitors in the travel insurance
                             market.

                             Ultimately, Defendants intend to
                             produce the marketing agreements
                             in question with the exception of
                             American’s, which cannot be
                             provided until the AEO issue is
                             addressed.

Request No. 9: All           Objections: Defendants object to        First, because Allianz has
unredacted pleadings in      this request on the basis of            withdrawn its breadth, burden,
the Underlying Actions, to   relevance, as the pleadings are         and relevance objections, the
the extent not publicly      freely available in the public          parties appear to have resolved
available.                   record and the redacted portions of     that part of their dispute
                             any pleadings solely contain            pertaining to these specific
                             commercially sensitive                  objections.
                             information that is irrelevant to the
                             issues in this case. Defendants also
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            object to this request as              Second, for the reasons explained
            disproportional to the needs of this   in detail in connection with
            case, as the redacted information      Request No. 2, Allianz’s equal
            has no bearing on any claim or         access objection is improper, and
            defense. Defendants further object     it should not be entitled to
            to this request as seeking             withhold any documents on the
            confidential and/or proprietary        basis of this objection.
            business information that can only
            be disclosed pursuant to a             Third, for the reasons explained
            mutually agreeable protective          in detail in connection with
            order from this Court and              Request No. 2, Allianz’s
            permission from the appropriate        objections to production on the
            underlying court/parties.              basis that the Request seeks
            This request also seeks documents      confidential documents or
            that are subject to a protective       information or confidential
            order entered by another court and     and/or proprietary business
            joint defense agreements such that     information are improper
            they may not be freely disclosed       because the Court has entered a
            by Defendants in this litigation.      mutually agreed protective order
                                                   to enable to the protection of just
            Answer: Defendants incorporate         such material. To the extent that
            and stand on their objections          Allianz contends there are joint
            above, and will not produce            defense, confidentiality
            documents responsive to this           agreements, or protective orders
            request absent a Court order.          that prevent the production of
                                                   otherwise responsive documents
            Additional Response to                 notwithstanding the protective
            Continental’s Position:                order, Allianz must (1) produce
            First, Defendants are not              copies of those
            withholding documents on the           agreements/orders so that
            basis of breadth, burden, or           Continental can determine
            relevance. Defendants have made        whether they in fact prohibit
            this clear to Continental through      production and (2) immediately
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            the meet and confer process and        seek any requisite consent to
            accordingly withdraw these             produce such documents. At an
            objections. Defendants                 absolute minimum, Allianz must
            incorporate their position from        log any documents or
            Request No. 2 that their prior         information withheld or redacted
            objections were asserted in good       on the basis of these objections
            faith.                                 to enable Continental to evaluate
                                                   the propriety of these objections.
            Second, where Defendants have
            withheld clean copies of redacted
            documents filed by third parties in
            the Underlying Actions, it has
            done so based on legal authority.
            Those orders survive the
            underlying litigation and continue
            to have the full force and effect on
            the parties. See Public Citizen v.
            Liggett Grp., 858 F.2d 775, 780–
            82 (1st Cir. 1988). Defendants,
            therefore, cannot produce the
            requested documents without
            violating the orders issued in the
            Underlying Actions. Courts in this
            Circuit recognize this as a valid
            basis to withhold documents in
            discovery. See, e.g., Dickerson v.
            TLC The Laser Eye Ctr. (Inst.),
            Inc., No. CV 6:10-00685-JMC,
            2010 WL 11640184, at *2 (D.S.C.
            Sept. 1, 2010) (“Courts which
            have been called upon to decide
            discovery motions that involve
            requests to modify or terminate a
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            protective order previously issued
            by another court, whether state or
            federal, have frequently felt
            constrained by principles of
            comity, courtesy, and, where a
            federal court is asked to take such
            action with regard to a previously
            issued state court protective order,
            federalism.”).

            Third, the fact that the Court has
            entered a confidentiality order in
            this case does not allow
            Defendants to violate prior orders
            by producing protected documents
            filed by non-parties. Nor may
            Continental “evaluate” the joint
            defense agreements,
            confidentiality agreements, and/or
            protective orders that prohibit
            disclosure, as Continental asserts,
            where the joint defense
            agreements themselves contain
            confidentiality provisions that
            prevent their disclosure. The
            protective orders, entered by the
            courts in the Underlying Actions,
            are publicly available and equally
            accessible to Continental. To
            avoid doubt, copies of those orders
            are also attached to the affidavit of
            Jack Zemp, submitted with this
            chart. Further, to the extent
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                             Defendants possess responsive
                             documents, they are only in
                             possession of those materials
                             pursuant to a joint defense
                             agreement that is confidential.

                             Defendants incorporate their
                             position from Request No. 2 that it
                             would be inappropriate to compel
                             Defendants to seek permission to
                             disclose confidential documents
                             from third parties when
                             Continental can accomplish this by
                             serving subpoenas.

                             If the Court determines that this
                             category of documents is protected
                             from discovery, Defendants
                             request that the Court relieve them
                             from the burden associated with
                             creating a privilege log for each
                             and every document.

Request No. 10: All          Objections: Defendants object to        First, because Allianz has
unredacted briefing of any   this request on the basis of            withdrawn its breadth, burden,
dispositive motions in the   relevance, as the briefings are         and relevance objections, the
Underlying                   freely available in the public          parties appear to have resolved
Actions, to the extent not   record and the redacted portions of     that part of their dispute
publicly available.          any briefing solely contain             pertaining to these specific
                             commercially sensitive                  objections.
                             information that is irrelevant to the   .
                             issues in this case. Defendants also
                             object to this request as
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            disproportional to the needs of this   Second, for the reasons explained
            case, as the redacted information      in detail in connection with
            has no bearing on any claim or         Request No. 2, Allianz’s equal
            defense. Defendants further object     access objection is improper, and
            to this request as seeking             it should not be entitled to
            confidential and/or proprietary        withhold any documents on the
            business information that can only     basis of this objection.
            be disclosed pursuant to a
            mutually agreeable protective          Third, for the reasons explained
            order from this Court and              in detail in connection with
            permission from the appropriate        Request No. 2, Allianz’s
            underlying court/parties. This this    objections to production on the
            request also seeks documents that      basis that the Request seeks
            are subject to a protective order      confidential documents or
            entered by another court and joint     information or confidential
            defense agreements such that they      and/or proprietary business
            may not be freely disclosed by         information are improper
            Defendants in this litigation.         because the Court has entered a
            Defendants also object to this         mutually agreed protective order
            request as vague, as it is unclear     to enable to the protection of just
            what is being sought that is           such material. To the extent that
            separate or different from Request     Allianz contends there are joint
            No. 9.                                 defense, confidentiality
                                                   agreements, or protective orders
            Answer: Defendants incorporate         that prevent the production of
            and stand on their objections          otherwise responsive documents
            above, and will not produce            notwithstanding the protective
            documents responsive to this           order, Allianz must (1) produce
            request absent a Court order.          copies of those
                                                   agreements/orders so that
            Additional Response to                 Continental can determine
            Continental’s Position: The issues     whether they in fact prohibit
            in this Request are substantively      production, and (2) immediately
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                             identical to those in connection      seek any requisite consent to
                             with Request No. 9. Defendants        produce such documents. At an
                             accordingly incorporate their         absolute minimum, Allianz must
                             additional response to Request No.    log any documents or
                             9 herein.                             information withheld or redacted
                                                                   on the basis of these objections
                                                                   to enable Continental to evaluate
                                                                   the propriety of these objections.
Request No. 11: All          Objections: Defendants object to      First, because Allianz has
pleadings, orders, and       this request, as it is overly broad,  withdrawn its breadth, burden,
written submissions to the   unduly burdensome, seeks              and relevance objections, the
arbitrator(s) in the         information that is irrelevant to the parties appear to have resolved
Smith Action.                issues in this case, and is           that part of their dispute
                             disproportional to the needs of this pertaining to these specific
                             case. Defendants also object to this objections.
                             request to the extent the requested
                             documents or their content are        Second, for the reasons explained
                             protected by the attorney-client      in detail in connection with
                             privilege, work product doctrine,     Request No. 2, Allianz’s
                             joint defense privilege, and a joint objection on the basis that the
                             defense agreement. Further, the       Request seeks discovery from a
                             arbitration proceeding at issue is    confidential arbitration is
                             confidential such that these          improper because the Court has
                             materials cannot be freely            entered a mutually agreed
                             disclosed by Defendants in this       protective order to enable to the
                             litigation.                           protection of just such material.
                                                                   To the extent that Allianz
                             Answer: Defendants have already contends there are joint defense,
                             produced to Continental the           confidentiality agreements, or
                             operative First Amended Demand protective orders that prevent the
                             for Arbitration in the Smith Action production of otherwise
                             (attached to Defendants’              responsive documents
                             Counterclaim as Exhibit “L”). The notwithstanding the protective
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            documents sought by this Request      order, Allianz must (1) produce
            have been submitted in a              copies of those
            confidential arbitration proceeding   agreements/orders so that
            to which Defendants are not a         Continental can determine
            party, and these documents may        whether they in fact prohibit
            not be produced without the           production, and (2) immediately
            consent of the underlying parties.    seek any requisite consent to
            Defendants are not in possession      produce such documents. At an
            of all the requested documents and    absolute minimum, Allianz must
            do not intend to seek permission      log any documents or
            from the underlying parties to        information withheld or redacted
            produce them. Defendants              on the basis of these objections
            incorporate and stand on their        to enable Continental to evaluate
            objections above, and will not        the propriety of these objections.
            produce documents responsive to
            this request absent a Court order.

            Additional Response to
            Continental’s Position:
            First, Defendants are not
            withholding documents on the
            basis of breadth, burden, or
            relevance. Defendants have made
            this clear to Continental through
            the meet and confer process and
            accordingly withdraw these
            objections. Defendants
            incorporate their position from
            Request No. 2 that their prior
            objections were asserted in good
            faith.
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            Second, where Defendants have
            withheld responsive documents
            filed in a confidential and ongoing
            arbitration proceeding, it has done
            so based on governing statutory
            law. Pursuant to Va. Code. Ann. §
            8.01-576.10, “[a]ll memoranda,
            work products and other materials
            contained in the case files of a
            neutral or dispute resolution
            program are confidential. Any
            communication made in or in
            connection with the dispute
            resolution proceeding that relates
            to the controversy, including
            screening, intake and scheduling a
            dispute resolution proceeding,
            whether made to the neutral or
            dispute resolution program staff or
            to a party, or to any other person,
            is confidential.” See also Rothman
            v. Snyder, No. CV 20-3290 PJM,
            2020 WL 7395488, at *4 (D. Md.
            Dec. 17, 2020) (holding that party
            may redact information pertaining
            to ongoing arbitration proceedings
            based on confidentiality interests).
            The statute expressly states that
            “[c]onfidential materials and
            communications are not subject to
            disclosure in discovery or in any
            judicial or administrative
            proceeding” except in certain
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            limited circumstances that do not
            apply here. Any privileges in this
            action are governed by Virginia
            state law. Hatfill v. New York
            Times Co., 459 F. Supp. 2d 462,
            465–66 (E.D. Va. 2006).
            Defendants are not a party to the
            Smith Action and are statutorily
            precluded from producing the
            confidential documents from that
            proceeding. Further, to the extent
            Defendants possess responsive
            documents, they are only in
            possession of those materials
            pursuant to a joint defense
            agreement that is confidential.

            Similar to their position from
            Request No. 2, Defendants
            maintain that it would be
            inappropriate to compel
            Defendants to seek a waiver of the
            arbitration privilege in the Smith
            Action from the non-parties that
            are currently arbitrating that
            dispute.

            Ultimately, Defendants have
            already produced to Continental
            the operative First Amended
            Demand for Arbitration in the
            Smith Action. If the Court
            determines that the remaining
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                             documents in this category are
                             protected from discovery,
                             Defendants request that the Court
                             relieve them from the burden
                             associated with creating a
                             privilege log for each and every
                             document.

Request No. 12: All          Objections: Defendants object to         First, because Allianz has
written discovery            this request, as it is overly broad,     withdrawn its breadth, burden,
responses served in any of   unduly burdensome, seeks                 and relevance objections, the
the Underlying Actions.      information that is irrelevant to the    parties appear to have resolved
                             issues in this case, and is              that part of their dispute
                             disproportional to the needs of this     pertaining to these specific
                             case. Defendants also object to this     objections..
                             request to the extent the requested
                             responses contain confidential           Second, for the reasons explained
                             and/or proprietary business              in detail in connection with
                             information that can only be             Request No. 2, Allianz’s
                             disclosed pursuant to a mutually         objections to production on the
                             agreeable protective order from          basis that the Request seeks
                             this Court, permission from the          confidential documents or
                             appropriate underlying                   confidential and/or proprietary
                             court/parties, and with appropriate      business information are
                             redactions to protect commercially       improper because the Court has
                             sensitive information that is            entered a mutually agreed
                             irrelevant to the issues in this case.   protective order to enable to the
                             Responsive documents, to the             protection of just such material.
                             extent they are in Defendants’           To the extent that Allianz
                             possession, are also subject to joint    contends there are confidentiality
                             defense agreements. Defendants           agreements or protective orders
                             further object to this request as        that prevent the production of
                             vague, as it is unclear whether          otherwise responsive documents
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            Continental is requesting the           notwithstanding the protective
            written discovery responses served      order, Allianz must (1) produce
            by Defendants in the Underlying         copies of those
            Actions or all written discovery        agreements/orders so that
            served by all parties in the            Continental can determine
            Underlying Actions. If the latter,      whether they in fact prohibit
            Defendants also object to this          production, and (2) immediately
            request as overly broad, unduly         seek any requisite consent to
            burdensome, and seeking                 produce such documents. At an
            documents that are irrelevant and       absolute minimum, Allianz must
            have no bearing on whether              log any documents or
            Continental owes coverage under         information withheld or redacted
            the terms of the Policies in dispute.   on the basis of these objections
                                                    to enable Continental to evaluate
            Amended Answer: Defendants              the propriety of these objections.
            will produce the written discovery
            responses served by Defendants in
            the Underlying Actions.
            Defendants will also produce any
            written discovery responses in its
            possession so long as the
            responses or the information
            therein were not designated
            confidential by the parties in the
            Underlying Actions. If this
            Request seeks documents beyond
            the scope of what Defendants will
            produce, Defendants incorporate
            and stand on their objections
            above, and will not produce
            documents responsive to this
            request absent a Court order.
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            Additional Response to
            Continental’s Positions:
            First, Defendants are not
            withholding documents on the
            basis of breadth, burden, or
            relevance. Defendants have made
            this clear to Continental through
            the meet and confer process and
            accordingly withdraw these
            objections. Defendants incorporate
            their position from Request No. 2
            that their prior objections were
            asserted in good faith.

            Second, where Defendants have
            withheld written discovery
            responses that were designated
            confidential by the parties in the
            Underlying Actions, it has done so
            based on legal authority. These
            documents are subject to
            protective orders issued in the
            Underlying Actions. Those orders
            survive the underlying litigation
            and continue to have the full force
            and effect on the parties.
            See Public Citizen v. Liggett
            Grp., 858 F.2d 775, 780–82 (1st
            Cir. 1988). Defendants, therefore,
            cannot produce the requested
            documents without violating the
            orders issued in the Underlying
            Actions. Courts in this Circuit
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            recognize this as a valid basis to
            withhold documents in discovery.
            See, e.g., Dickerson v. TLC The
            Laser Eye Ctr. (Inst.), Inc., No.
            CV 6:10-00685-JMC, 2010 WL
            11640184, at *2 (D.S.C. Sept. 1,
            2010) (“Courts which have been
            called upon to decide discovery
            motions that involve requests to
            modify or terminate a
            protective order previously issued
            by another court, whether state or
            federal, have frequently felt
            constrained by principles of
            comity, courtesy, and, where a
            federal court is asked to take such
            action with regard to a previously
            issued state court protective order,
            federalism.”).

            Third, the fact that the Court has
            entered a confidentiality order in
            this case does not allow
            Defendants to violate prior orders
            by producing protected documents
            filed by non-parties. Nor may
            Continental “evaluate” the joint
            defense agreements,
            confidentiality agreements, and/or
            protective orders that prohibit
            disclosure, as Continental asserts,
            where the joint defense
            agreements themselves contain
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            confidentiality provisions that
            prevent their disclosure. The
            protective orders, entered by the
            courts in the Underlying Actions,
            are publicly available and equally
            accessible to Continental. To
            avoid doubt, copies of those orders
            are also attached to the affidavit of
            Jack Zemp, submitted with this
            chart. Further, to the extent
            Defendants possess responsive
            documents, they are only in
            possession of those materials
            pursuant to a joint defense
            agreement that is confidential.

            Defendants incorporate their
            position from Request No. 2 that it
            would be inappropriate to compel
            Defendants to seek permission to
            disclose confidential documents
            from third parties when
            Continental can accomplish this by
            serving subpoenas.

            Ultimately, Defendants have
            already produced the written
            discovery responses that they
            served as third parties in the
            Underlying Actions. They have
            also agreed to produce any written
            discovery responses in their
            possession so long as the
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                           responses or the information
                           therein were not designated
                           confidential by the parties in the
                           Underlying Actions. If the Court
                           determines that the remaining
                           documents in this category are
                           protected from discovery,
                           Defendants request that the Court
                           relieve them from the burden
                           associated with creating a
                           privilege log for each and every
                           document.

Request No. 13: All        Objections: Defendants object to         First, this Request is narrowly
expert reports served in   this request on the basis of             tailored to seek easily identifiable
any of the Underlying      relevance, as the content of the         documents directly relevant to
Actions.                   expert reports in the Underlying         the issues presented in this case.
                           Actions address subjects irrelevant      To be clear, the Request seeks
                           to the issues in this case.              expert reports served by any
                           Defendants also object to this           party in the Underlying Actions.
                           request to the extent the requested      For the reasons explained in
                           responses contain confidential           detail in connection with Request
                           and/or proprietary business              No. 2, Allianz’s objection as to
                           information that can only be             relevance lacks the specificity
                           disclosed pursuant to a mutually         required under the federal and
                           agreeable protective order from          local rules, and it should not be
                           this Court, permission from the          entitled to withhold documents
                           appropriate underlying                   responsive to this Request on the
                           court/parties, and with appropriate      basis of this objection. To the
                           redactions to protect commercially       extent Allianz now states that it
                           sensitive information that is            does not intend to withhold
                           irrelevant to the issues in this case.   documents on the basis of these
                           Responsive documents, to the
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            extent they are in Defendants’          improperly asserted objections,
            possession, are also subject to joint   they should be withdrawn.
            defense agreements. Defendants
            further object to this request as    Second, for the reasons explained
            vague, as it is unclear whether      in detail in connection with
            Continental is requesting expert     Request No. 2, Allianz’s
            reports served by Defendants,        objections to production on the
            Defendants’ partners, or the         basis that the Request seeks
            underlying claimants.                confidential documents or
                                                 confidential and/or proprietary
            Answer: Defendants incorporate       business information are
            and stand on their objections        improper because the Court has
            above, and will not produce          entered a mutually agreed
            documents responsive to this         protective order to enable to the
            request absent a Court order.        protection of just such material.
            Defendants have made this clear to To the extent that Allianz
            Continental through the meet and     contends there are joint defense
            confer process.                      agreements, confidentiality
                                                 agreements, or protective orders
            Additional Response to               that prevent the production of
            Continental’s Positions:             otherwise responsive documents
            First, Defendants are not            notwithstanding the protective
            withholding documents on the         order, Allianz must (1) produce
            basis of breadth, burden, or         copies of those
            relevance and accordingly            agreements/orders so that
            withdraw these objections.           Continental can determine
            Defendants incorporate their         whether they in fact prohibit
            position from Request No. 2 that     production, and (2) immediately
            their prior objections were asserted seek any requisite consent to
            in good faith.                       produce such documents. At an
                                                 absolute minimum, Allianz must
            Second, the majority of the expert log any documents or
            reports filed in the Underlying      information withheld or redacted
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            Actions are publicly available.        on the basis of these objections
            The remainder were filed redacted      to enable Continental to evaluate
            or under seal by the parties in the    the propriety of these objections.
            Underlying Actions pursuant to
            the governing protective orders in
            those matters. Defendants have
            withheld these reports based on
            legal authority. These documents
            are subject to protective orders
            issued in the Underlying Actions.
            Those orders survive the
            underlying litigation and continue
            to have the full force and effect on
            the parties. See Public Citizen v.
            Liggett Grp., 858 F.2d 775, 780–
            82 (1st Cir. 1988). Defendants,
            therefore, cannot produce the
            requested documents without
            violating the orders issued in the
            Underlying Actions. Courts in this
            Circuit recognize this as a valid
            basis to withhold documents in
            discovery. See, e.g., Dickerson v.
            TLC The Laser Eye Ctr. (Inst.),
            Inc., No. CV 6:10-00685-JMC,
            2010 WL 11640184, at *2 (D.S.C.
            Sept. 1, 2010) (“Courts which
            have been called upon to decide
            discovery motions that involve
            requests to modify or terminate a
            protective order previously issued
            by another court, whether state or
            federal, have frequently felt
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            constrained by principles of
            comity, courtesy, and, where a
            federal court is asked to take such
            action with regard to a previously
            issued state court protective order,
            federalism.”).

            Third, the fact that the Court has
            entered a confidentiality order in
            this case does not allow
            Defendants to violate prior orders
            by producing protected documents
            filed by non-parties. Nor may
            Continental “evaluate” the joint
            defense agreements,
            confidentiality agreements, and/or
            protective orders that prohibit
            disclosure, as Continental asserts,
            where the joint defense
            agreements themselves contain
            confidentiality provisions that
            prevent their disclosure. The
            protective orders, entered by the
            courts in the Underlying Actions,
            are publicly available and equally
            accessible to Continental. To
            avoid doubt, copies of those orders
            are also attached to the affidavit of
            Jack Zemp, submitted with this
            chart. Further, to the extent
            Defendants possess unredacted
            copies of the expert reports that
            were redacted or filed under seal,
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                          they are only in possession of
                          those materials pursuant to a joint
                          defense agreement that is
                          confidential.

                          Defendants incorporate their
                          position from Request No. 2 that it
                          would be inappropriate to compel
                          Defendants to seek permission to
                          disclose confidential documents
                          from third parties when
                          Continental can accomplish this by
                          serving subpoenas.

                          If the Court determines that an
                          entire category of documents is
                          protected from discovery,
                          Defendants request that the Court
                          relieve them from the burden
                          associated with creating a
                          privilege log for each and every
                          document.

Request No. 14: All       Objections: Defendants object to        First, because Allianz has
mediation statements in   this request, as it is overly broad,    withdrawn its breadth, burden,
any of the Underlying     unduly burdensome, seeks                and relevance objections, the
Actions.                  information that is irrelevant to the   parties appear to have resolved
                          issues in this case, and is             that part of their dispute
                          disproportional to the needs of this    pertaining to these specific
                          case. Defendants also object to this    objections..
                          request, as it seeks documents that
                          are protected by the mediation          Second, Allianz’s objections to
                          privilege and otherwise constitute      production on the basis that the
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            confidential and privileged             Request seeks confidential
            settlement communications.              settlement communications or
            Responsive documents, to the            communications that are subject
            extent they are in Defendants’          to the mediation privilege are
            possession, are also subject to joint   improper. “While Federal Rule
            defense agreements. The                 of Evidence 408 bars the
            Defendants further object that the      admission of settlement
            documents are irrelevant to the         communications and agreements
            issues in this case, as none of the     at trial for certain purposes,
            Underlying Actions were resolved        nothing in Rule 408 renders such
            through mediation, and what             materials privileged against
            occurred during those sessions has      discovery.” Oppenheimer v.
            no bearing on the amounts sought        Episcopal Communicators, Inc.,
            from Continental in this litigation.    No. 1:19-CV-00282-MR, 2020
                                                    WL 4732238, at *4 (W.D.N.C.
            Answer: Defendants incorporate          Aug. 14, 2020) (internal
            and stand on their objections           quotation marks and citation
            above, and will not produce             omitted). Moreover, for the
            documents responsive to this            reasons explained in detail in
            request absent a Court order.           response to Request No. 2, such
                                                    objections are improper because
            Additional Response to                  the Court has entered a mutually
            Continental’s Positions:                agreed protective order to enable
            First, Defendants are not               to the protection of just such
            withholding documents on the            material. At an absolute
            basis of breadth, burden, or            minimum, Allianz must log any
            relevance. Defendants have made         documents or information
            this clear to Continental through       withheld or redacted on the basis
            the meet and confer process and         of these objections to enable
            accordingly withdraw these              Continental to evaluate the
            objections. Defendants                  propriety of these objections.
            incorporate their position from
            Request No. 2 that their prior
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            objections were asserted in good       Third, even where Va. Code.
            faith.                                 Ann. § 8.01-581.22 applies, the
                                                   Fourth Circuit has held that
            Second, Defendants have withheld       disclosure of confidential
            mediation statements from the          information is permitted in
            Underlying Actions based on            certain circumstances. See In re
            governing statutory law. Pursuant      Anonymous, 283 F.3d 627, 640
            to Va. Code. Ann. § 8.01-581.22,       (4th Cir. 2002) (consenting for
            “[a]ll memoranda, work products        court mediator to disclose
            and other materials contained in       confidential information only
            the case files of a mediator or        “where such disclosure is
            mediation program are                  mandated by manifest injustice,
            confidential. Any communication        is indispensable to resolution of
            made in or in connection with the      an important subsequent dispute,
            mediation, which relates to the        and is not going to damage our
            controversy being mediated,            mediation program”).
            including screening, intake, and       Particularly to the extent that the
            scheduling a mediation, whether        underlying mediations did not
            made to the mediator, mediation        take place in Virginia or address
            program staff, to a party, or to any   any dispute pending in Virginia,
            other person, is confidential.” The    it would be manifestly unjust for
            statute expressly states that          Allianz to shield the mediation
            “[c]onfidential materials and          statements from discovery based
            communications are not subject to      on a Virginia statute solely
            disclosure in discovery or in any      because this insurance coverage
            judicial or administrative             action is pending in that state.
            proceeding” except in certain          Further, discovery of such
            limited circumstances that do not      materials is indispensable to the
            apply here. Any privileges in this     resolution of this dispute because
            action are governed by Virginia        it will provide Continental
            state law. Hatfill v. New York         critical insight into the global
            Times Co., 459 F. Supp. 2d 462,        settlement efforts in a number of
            465–66 (E.D. Va. 2006).                the Underlying Actions that
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            Moreover, the mediations in the         Continental contends are related.
            Underlying Actions were                 Such limited disclosure, subject
            conducted pursuant to the parties’      to a protective order in this case,
            written and/or verbal agreement         will not damage the mediation
            that the communications would be        program, nor will it in any way
            kept confidential and would not be      prejudice the parties to the
            divulged to third parties.              Underlying Actions to the extent
            Continental’s reference to Federal      those actions have already been
            Rule of Evidence 408 is                 resolved.
            inapposite.
                                                    At a minimum, Continental
            Third, Continental provides no          should be entitled to discovery of
            authority for the proposition that it   any documents attached to the
            would be manifestly unjust to           mediation statements or used at
            shield mediation statements from        the mediations that were not
            discovery pursuant to applicable        created specifically for the
            Virginia law. It similarly fails to     mediation.
            provide any authority for the
            contention that Virginia law does
            not apply – an issue that has been
            undisputed between the parties in
            this litigation.

            This District has recognized that
            Virginia state law applies relating
            to privileges and has specifically
            held that Virginia’s mediation
            statute applies to diversity cases.
            See RegScan, Inc. v. Bureau of Nat.
            Affs., Inc., No. 1:11CV1129
            JCC/JFA, 2012 WL 2994075, at *4
            (E.D. Va. July 19, 2012) (applying
            Virginia’s mediation statute to a
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            diversity action). “The
            application of a state privilege to
            this action based on diversity
            jurisdiction is straight-forward
            from the text of Rule 501. And,
            the Court finds that Section
            581.22’s guarantee of
            confidentiality
            of mediation materials and
            communications is a ‘privilege’
            within the meaning of Rule 501.”
            Id. Continental cannot selectively
            avoid the application of Virginia
            law when it is unfavorable to the
            insurer’s position.

            Similarly, any documents attached
            to the confidential mediation
            statements would be marked
            confidential. The statute does not
            create an exception for discovery
            of attachments that were not
            specifically created for the
            mediation, and Continental cites
            no such authority. See Va. Code.
            Ann. § 8.01-581.22.

            If the Court determines that the
            documents in this category are
            protected from discovery,
            Defendants request that the Court
            relieve them from the burden
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                            associated with creating a
                            privilege log for each and every
                            document.

Request No. 15: All         Objections: Defendants object to        First, this Request is narrowly
documents referring to or   this request, as it seeks documents     tailored to seek easily identifiable
reflecting settlement       that are protected by the mediation     documents directly relevant to
communications in the       privilege and otherwise constitute      the issues presented in this case.
Underlying Actions,         confidential and privileged             For the reasons explained in
including communications    settlement communications.              detail in connection with Request
with any adverse party      Defendants also object to this          No. 2, Allianz’s objections as to
and/or any mediator.        request to the extent it                breadth, burden, and relevance
                            encompasses communications              lacks the specificity required
                            between the Defendants, their           under the federal and local rules,
                            partners, and/or their attorneys, as    and it should not be entitled to
                            these communications are                withhold documents responsive
                            protected by the attorney-client        to this Request on the basis of
                            privilege, work product doctrine,       this objection. To the extent
                            and joint defense privilege.            Allianz now states that it does
                            Responsive documents, to the            not intend to withhold documents
                            extent they are in Defendants’          on the basis of these improperly
                            possession, are also subject to joint   asserted objections, they should
                            defense agreements. Further, the        be withdrawn.
                            request seeks irrelevant documents
                            in that it encompasses settlement       Second, Allianz’s objections to
                            communications that never               production on the basis that the
                            produced a resolution of the            Request seeks confidential
                            Underlying Actions and therefore        settlement communications or
                            have no bearing on this litigation.     communications that are subject
                                                                    to the mediation privilege are
                            Answer: Defendants incorporate          improper. “While Federal Rule
                            and stand on their objections           of Evidence 408 bars the
                            above, and will not produce             admission of settlement
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            documents responsive to this          communications and agreements
            request absent a Court order.         at trial for certain purposes,
                                                  nothing in Rule 408 renders such
            Additional Response to                materials privileged against
            Continental’s Positions: The          discovery.” Oppenheimer v.
            portion of this Request seeking       Episcopal Communicators, Inc.,
            Defendants’ mediation                 No. 1:19-CV-00282-MR, 2020
            communications with other parties     WL 4732238, at *4 (W.D.N.C.
            or the mediator presents              Aug. 14, 2020) (internal
            substantively identical issues to     quotation marks and citation
            those in connection with Request      omitted); Townsend v. Nestle
            No. 14. Defendants accordingly        Healthcare Nutrition, Corp., No.
            incorporate their additional          3:15-CV-06824, 2016 WL
            response to Request No. 14 herein.    1629363, at *5 (S.D.W. Va. Apr.
                                                  22, 2016) (“[W]hen determining
            Regarding settlement                  whether a settlement agreement
            communications outside of             or information concerning
            mediation, Defendants have            settlement negotiations are
            withheld such documents based on      subject to production in
            governing legal authority. Courts     discovery, courts in this circuit
            in this jurisdiction have held that   have found that relevance not
            settlement communications are         admissibility is the appropriate
            undiscoverable unless the party       inquiry.”) (internal quotation
            seeking disclosure can                marks and citations omitted).
            demonstrate that “manifest            Moreover, for the reasons
            injustice” will result from non-      explained in detail in response to
            disclosure. “Application of the       Request No. 2, such objections
            manifest injustice standard           are improper because the Court
            requires the party seeking            has entered a mutually agreed
            disclosure to demonstrate that the    protective order to enable to the
            harm caused by non-disclosure         protection of just such material.
            will be manifestly greater than the   At an absolute minimum, Allianz
            harm caused by disclosure.” In re     must log any documents or
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            Anonymous, 283 F.3d 627, 637          information withheld or redacted
            (4th Cir. 2002); CHS Inc. v. ABM      on the basis of these objections
            Healthcare Support Servs., Inc.,      to enable Continental to evaluate
            No. 7:19-CV-788, 2021 WL              the propriety of these objections.
            149861, at *2–3 (W.D. Va. Jan.
            15, 2021) (declining to compel      The “manifest injustice” standard
            production of settlement            applied by the Fourth Circuit in
            communications and finding that     In re Anonymous related to a
            the party seeking disclosure “can   finding of waiver of the
            obtain any relevant information it  mediation privilege, not to
            would glean from reviewing          settlement communications more
            ongoing settlement                  broadly. While a few courts have
            communications . . . through other, applied this standard more
            less concerning or burdensome,      broadly, particularly where
            means.”). Continental cannot        settlement negotiations remain
            carry this burden.                  ongoing, there are no ongoing
                                                settlement negotiations for most,
            Continental’s position that the     if not all, of the underlying
            “manifest justice” standard applied action. See CHS Inc. v. ABM
            in In re Anonymous somehow does Healthcare Support Servs., Inc.,
            not apply to settlement             No. 7:19-CV-788, 2021 WL
            communications is unsupported by 149861, at *2-3 (W.D. Va. Jan.
            the cited cases or legal authority  15, 2021) (finding “it appropriate
            from this Circuit. In CHS Inc., the to proceed with caution when
            Western District of Virginia relied allowing one party to conduct
            on Food Lion, LLC v. Dairy          discovery into another party’s
            Farmers of Am., Inc., No. 1:20-     ongoing settlement
            CV-442, 2020 WL 6947921, at *4 negotiations”), Continental is not
            (M.D.N.C. Sept. 29, 2020). Food     aware of any such cases within
            Lion cited directly to In re        the Eastern District of Virginia.
            Anonymous and its standard when Indeed, the application of this
            it declined to compel production of heightened standard is
            settlement communications. CHS      inappropriate outside the context
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            explicitly noted that “[a] few        of Virginia’s statutory provision
            courts within the Fourth Circuit      related to the confidentiality of
            have distinguished the discovery      mediations. When that statute is
            of pre-settlement negotiations        not implicated, it is federal law
            from the discovery of settlement      regarding the appropriate scope
                                                  of discovery that must be
            agreements and found it
                                                  applied. As set forth above,
            appropriate to ‘apply enhanced        federal law clearly allows the
            protections’ to settlement            discovery of settlement
            communications.” CHS Inc., 2021       communications.
            WL 149861 at *2. Other courts in
            this Circuit have held that
            “[a]lthough Anonymous arose in a
            different factual context, it
            strongly suggests to this Court
            that a party seeking discovery of
            settlement documents must
            demonstrate a heightened
            showing of need and relevance to
            the action.” Wyeth v. Lupin Ltd.,
            No. CV WDQ-07-632, 2008 WL
            11509482, at *3 (D. Md. Mar. 28,
            2008).

            Continental provides no authority
            for the position that the relevance
            and manifest injustice standard
            does not apply to communications
            relating to completed negotiations.

            First, Continental has failed to
            demonstrate how settlement
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            communications meet the
            heightened relevance standard
            applicable to these documents. In
            fact, Continental has failed to
            demonstrate how they are relevant
            at all. This case is about whether
            the Underlying Actions are related
            and the potential application of
            certain policy exclusions.
            Settlement communications
            (whether they resulted in a
            settlement or not) are not relevant
            to these issues. Further, as
            addressed in the attached affidavit,
            discovery would impose an undue
            burden on Defendants to identify
            and compile these
            communications, which date back
            numerous years.

            Second, Continental’s reference to
            Federal Rule of Evidence 408 and
            the entry of a protective order in
            this case is inapposite, as the
            governing law places the burden
            on Continental to prove its
            entitlement to discovery. Even if
            some responsive documents are
            relevant (which they are not),
            Continental must prove that it is
            incapable of obtaining the
            information from other “less
            concerning or burdensome
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                            means.” Here, nothing prevents
                            Continental from deposing
                            Defendants, and Defendants have
                            already produced unredacted
                            copies of the actual settlement
                            agreements for which they seek
                            coverage. These available
                            alternatives, amongst others,
                            prevent Continental from meeting
                            the heightened discovery burden
                            imposed in this jurisdiction.

                            If the Court determines that the
                            documents in this category are
                            protected from discovery,
                            Defendants request that the Court
                            relieve them from the burden
                            associated with creating a
                            privilege log for each and every
                            document.

Request No. 16: All         Objections: Defendants object to        Continental understands that
documents relating to any   this request, as it seeks documents     Allianz will produce copies of
settlement or potential     that are protected by the attorney-     final settlement agreements in the
settlement of any of the    client privilege, work product          Underlying Actions. As such,
Underlying Actions.         doctrine, and/or joint defense          the parties’ dispute is
                            privilege, documents that are           substantively identical to the
                            protected by the mediation              dispute addressed with respect to
                            privilege and otherwise constitute      Request No. 15, and Continental
                            confidential and privileged             therefore incorporates its position
                            settlement communications, and          with respect to that request with
                            documents that are irrelevant to        respect to Request No. 16.
                            the issues in this case. This request
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            seeks documents protected by the
            attorney-client privilege, work
            product doctrine, and joint defense
            privilege because it encompasses
            communications between
            Defendants, their partners, and/or
            their attorneys, as well as materials
            that were created in preparation for
            litigation. This request also seeks
            documents protected by the
            mediation privilege and
            confidential and privileged
            documents that constitute or relate
            to protected settlement
            communications. Further, the
            request seeks irrelevant documents
            in that it encompasses settlement
            efforts that never produced a
            resolution of the Underlying
            Actions and therefore have no
            bearing on this litigation.

            Answer: Defendants will produce
            copies of the settlement
            agreements that have resolved
            certain of the Underlying Actions
            pursuant to appropriate terms to be
            agreed upon by the parties to
            protect the confidentiality of these
            agreements. Defendants otherwise
            incorporate and stand on their
            objections above, and will not
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                             produce documents responsive to
                             this request absent a Court order.

                             Additional Response to
                             Continental’s Positions: The issues
                             in this Request are substantively
                             identical to those in connection
                             with Request No. 15. Defendants
                             accordingly incorporate their
                             additional response to Request No.
                             15 herein.

Request No. 17: All          Objections: Defendants object to       Allianz both states that it is
documents relating to        this request, as it is overly broad    withholding documents on the
communications with any      and unduly burdensome, seeks           basis of burden and relevance yet
insurer, insurance agent,    irrelevant information, is             also that it is producing all
broker, consultant, or       disproportional to the needs of this   documents responsive to this
advisor concerning any of    case, and seeks information            Request. To be clear, the
the Policies and/or any of   protected by the attorney-client       documents Allianz states it will
the Underlying Actions.      privilege and work product             produce are not the universe of
                             doctrine. The request is overbroad,    documents responsive to this
                             burdensome, and disproportional        Request. This request would
                             to the extent it seeks                 also encompass documents and
                             communications between                 communications relating to
                             Defendants and Continental, as         potential coverage in connection
                             such communications are already        with the Underlying Actions
                             in Continental’s possession. The       under other policies issued to
                             request seeks irrelevant               Allianz.
                             information to the extent it seeks
                             communications between                 Continental understands that
                             Defendants and any other insurer,      Allianz is refusing to produce
                             which has no bearing on whether        such documents on the basis of
                             Continental owes coverage under        burden and relevance. For the
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            the terms of the Policies in dispute.   reasons explained in detail in
            Further, the request seeks              connection with Request No. 2,
            documents protected by the              Allianz’s objections as to burden
            attorney-client and/or work             and relevance lack the specificity
            product doctrine to the extent it       required under the federal and
            seeks communications between            local rules, and it should not be
            Defendants and their “advisors”         entitled to withhold documents
            and “consultants,” which includes       responsive to this Request on the
            their attorneys. Defendants also        basis of these objections. To the
            incorporate their objections from       extent Allianz no longer intends
            Request No. 3 addressing                to withhold documents on the
            substantively similar information.      basis of these objections, they
                                                    should be withdrawn.
            Answer: Consistent with
            Categories 18, 19, and 21 of            Allianz’s communications with
            Exhibit “B” of the Defendants’          other insurers are directly
            Initial Disclosures, Defendants         relevant here because the
            will reasonably search for and          Continental policies contain
            produce (1) correspondence              other insurance provisions that
            between Defendants and their            may be implicated. Moreover, to
            brokers regarding the marketing         the extent another insurer
            agreements and/or the indemnity         wrongfully denied coverage in
            demands, (2) the Defendants’            connection with the Underlying
            claims for insurance coverage, and      Actions, Continental may be
            (3) communications regarding the        entitled to recovery from those
            procurement of the insurance            carriers. At a minimum, such
            policies at issue. The Defendants       information is relevant to
            do not have any responsive              Allianz’s expectations regarding
            communications between                  coverage for the Underlying
            Defendants and any non-attorney         Actions. For example, to the
            “advisors” or “consultants.” As to      extent that Allianz believed it
            any other communications                was entitled to coverage in
            contemplated by this interrogatory,     connection with the Underlying
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            Defendants incorporate and stand        Actions under other policies, that
            on their objections above, and will     is relevant to Allianz’s
            not produce documents responsive        expectations regarding coverage.
            to this request absent a Court          This is sufficient to satisfy the
            order.                                  low bar for “relevance” in
                                                    discovery.
            Additional Response to
            Continental’s Positions:                Allianz cannot reasonably
            First, Defendants are not               contend that it would face an
            withholding documents on the            undue burden in locating and
            basis of breadth, but do so on the      producing such responsive
            basis of burden and relevance. As       documents. To the extent that
            addressed in Defendants’                there are so many responsive
            objections and supporting               documents as to impose such a
            affidavit, this Request is unduly       high burden on Allianz, that only
            burdensome because it seeks all of      serves to emphasize the need for
            the communications between              such discovery.
            Defendants dating back numerous
            years, all of which are already in
            Continental’s possession. Further,
            the Request seeks irrelevant
            documents to the extent it seeks
            communications between
            Defendants and any other insurer,
            which has no bearing on whether
            Continental owes coverage under
            the terms of the policies in dispute.
            Continental is not, as it suggests,
            entitled to use discovery in this
            case to build a case against another
            insurer that may have denied
            coverage. Continental also asserts
            that communications with other
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            insurers are relevant because their
            policies “contain other insurance
            provisions that may be
            implicated.” Yet, a review of
            Continental’s operative Amended
            Complaint (ECF No. 40) and
            Answer to Defendants’
            counterclaim (ECF No. 42)
            confirms that Continental has not
            raised the “other insurance”
            provision in this case.
            Accordingly, these
            communications are irrelevant to
            any claim or defense at issue.

            Second, with respect to “Allianz’s
            expectations regarding coverage
            for the Underlying Actions,”
            Defendants have agreed to
            produce (1) correspondence
            between Defendants and their
            brokers regarding the marketing
            agreements and/or the indemnity
            demands, (2) the Defendants’
            claims for insurance coverage, and
            (3) procurement of the insurance
            policies at issue. Defendants have
            also clarified that they do not have
            any responsive communications
            between Defendants and any non-
            attorney “advisors” or
            “consultants.” Defendants believe
            that the documents they have
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                            agreed to produced encompass the
                            scope of discoverable materials
                            responsive to this Request.
                            Continental’s attempt to use the
                            undue burden imposed by this
                            request as a justification for
                            discovery simply turns the
                            applicable legal standards on their
                            head.

Request No. 18: All         Objections: Defendants object to         This Request is narrowly tailored
documents relating to the   this request as unduly burdensome,       to seek information directly
negotiation or              overly broad, and disproportional        relevant to the issues presented in
procurement of any of the   to the needs of this case to the         this case. Indeed, Allianz
Policies.                   extent it asks Defendants to             concedes the discovery sought is
                            produce documents that are               relevant, and Continental fails to
                            already in Continental’s                 see how it is sufficiently broader
                            possession. Defendants also object       than Request No. 17 to support a
                            to this request to the extent it seeks   breadth and burden objection.
                            documents protected by the               Allianz apparently is only willing
                            attorney-client privilege.               to produce communications with
                            Defendants further object to this        its brokers relating to the
                            request as overly broad and vague,       negotiation or procurement of the
                            as it potentially encompasses a          Policies, which would not
                            substantial and unclear scope of         include, for example, internal
                            documents “relating to”                  documents or communications
                            negotiation and procurement.             relating to the negotiation or
                                                                     procurement of the Policies. For
                            Answer: Defendants will conduct          the reasons explained in detail in
                            a reasonable search for and              Connection with Request No. 2,
                            produce any nonprivileged                Allianz’s objections as to breadth
                            correspondence between                   and burden lack the specificity
                            Defendants and their broker(s)           required under the federal and
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            regarding the negotiation and          local rules, and it should not be
            procurement of the Policies. If this   entitled to withhold documents
            Request seeks documents beyond         responsive to this Request on the
            the scope of what Defendants will      basis of these objections.
            produce, Defendants incorporate
            and stand on their objections
            above, and will not produce
            documents responsive to this
            request absent a Court order.

            Additional Response to
            Continental’s Positions:
            Defendants are not withholding
            documents on the basis of
            relevance, but do so on the basis of
            burden and breadth. As addressed
            in Defendants’ objections and
            supporting affidavit, this Request
            is unduly burdensome because it
            seeks substantial documents dating
            back numerous years, all of which
            are already in Continental’s
            possession.

            Further, the Request is overbroad
            because it seeks documents
            “relating to” the negotiation or
            procurement of any of the policies.
            Defendants have already agreed to
            produce nonprivileged
            correspondence between
            Defendants and their broker(s)
            regarding the negotiation and
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            procurement of the policies. The
            fact that Continental continues to
            seek documents “relating to”
            negotiation and procurement
            confirms that this Request is far
            broader with an indeterminate and
            unclear scope. Continental’s
            position that this Request would
            even extend to the Defendants’
            internal communications only
            further confirms how far the
            insurer has strayed from materials
            that bear on the availability of
            coverage under the subject
            policies.
